Case 2:24-cv-00051-WSS Document 38 Filed 05/07/24 Page 1 of 1

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

JANE DOE,
Plaintiff, Civil Action No. 2:24-cv-51

v. Hon. William S. Stickman IV

PINE-RICHLAND SCHOOL DISTRICT,

Defendant.

ORDER OF COURT

AND NOW this “7 day of May 2024, for the reasons set forth in the Memorandum
Opinion filed this day, IT IS HEREBY ORDERED that Plaintiff Jane Doe’s Motion for a
Preliminary Injunction (ECF No. 5) is DENIED.

BY THE COURT:

steer,

DUA S ei.

WILLIAM S. STICKMAN IV
UNITED STATES DISTRICT JUDGE

aT

